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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
EPOCH COMPANY, LTD., )
) Case No.: 19-cv-4936

Plaintiff, )
)

) Judge: Gary Feinerman
V. )
)
THE INDIVIDUALS, CORPORATIONS, )
LIMITED LIABILITY COMPANIES, )
PARTNERSHIPS AND UNINCORPORATED )
ASSOCIATIONS IDENTIFIED )
ON SCHEDULE A HERETO, )
)
Defendants. )

PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff EROCH COMPANY, LTD.,
hereby dismiss with prejudice all causes of action in the complaint against the following Defendants identified in
Schedule A. Each party shall bear its own attorney’s fees and costs.

No. Defendant

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The respective Defendants have not filed an answer to the complaint or a motion for summary judgment in
this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is appropriate.
Respectfully submitted,

Dated: October 23, 2019 By: s/Michael A. Hierl
Michael A. Hierl (Bar No. 3128021)
William B. Kalbac (Bar No. 6301771)
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EPOCH COMPANY, LTD.
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CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of Voluntary

Dismissal was filed electronically with the Clerk of the Court and served on all counsel of record and interested
parties via the CM/ECF system on October 23, 2019.

s/Michael A. Hier]

 
